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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG : MDL No. 2179
“DEEPWATER HORIZON” in the
GULF OF MEXICO, on : Section: J
APRIL 20, 2010 :
: Judge Barbier
This Document Relates to : Mag. Judge Shushan

All Cases

MEMORANDUM IN SUPPORT OF
JOINT MOTION FOR PROTECTIVE ORDER

INTRODUCTION

On April 20, 2010, as a result of the blowout of the Macondo #1 Well, a fire and multiple
explosions occurred onboard the Deepwater Horizon, a marine vessel that was at material times
conducting drilling operations in the Gulf of Mexico. The Deepwater Horizon eventually sank,
and the cause of this incident is currently under investigation by the litigants in this case, various
private parties, and governmental agencies. Petitioners seek entry of a Protective Order from this
Honorable Court protecting and preserving the physical evidence associated with the Blow Out
Preventer (“BOP”’) that is currently secured to the Macondo #1 Well on the ocean floor of the
Gulf of Mexico. The BOP stack is expected to soon be recovered from the ocean floor and

transported to a facility for forensic testing.

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IMPORTANT RELEVANT EVIDENCE

All parties to this litigation and all investigatory bodies endeavoring to ascertain any and
all possible cause(s) of the casualty have considerable interests in the BOP stack because of the
outstanding questions related to the BOP’s performance under the circumstances giving rise to
the incident. The information that potentially can be derived from the BOP as it rests on the
floor of the Gulf of Mexico, and through all periods of time that the BOP is or might be
subjected to transport, storage, observation, examination, and forensic testing, is of paramount
importance to this Honorable Court, all of the litigants, and the investigatory and governmental
agencies involved in this matter. Governmental agencies, namely the Department of the Interior
(“DOI”), should not be allowed exclusive control of the testing process to the exclusion of the
other litigants and parties in interest.

TIMING ISSUES

On present information and belief, it is contemplated that the BOP will be retrieved from
the ocean floor perhaps as early as sometime next week. The DOI, on behalf of the Joint
Investigation Board (comprised of the U.S. Coast Guard and Bureau of Ocean Energy
Management, Regulation, and Enforcement), recently notified the interested parties that it is
contracting for expert BOP forensic analysis services to perform a scientific and technical
analysis of all aspects of the BOP stack. The DOI also solicited input from the parties in interest
for the forensic testing protocol and asked that the parties in interest collaborate to develop a
consolidated submission. (See attachments A and B.) The DOI, however, provided no

explanation as to how the input from the individual parties or a consolidated submission would

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be adopted or considered by the DOI. The DOI also notified the parties of its unilateral plan to
transport the BOP stack to the Michoud (NASA) site to conduct the forensic testing.

Legitimate concerns exist as to the retrieval process, transport, selection of the testing
facility, and plans for forensic testing. In the interest of fundamental fairness, these issues must
be be fully vetted by all interested parties in advance of retrieval and transporting of the BOP to
the testing facility.

THIS COURT’S ORDER

As the Court is aware, in furtherance of Pre-Trial Order No. 1, Paragraph 14, all parties
have a duty to preserve evidence that may be relevant to this action. The duty extends to
tangible things in the possession, custody, and control of the parties to this action and any
employees, agents, contractors, carriers, bailees, or other non-parties who possess materials
reasonably anticipated to be subject to discovery in this action. With custody contemplated to be
in the exclusive control of the DOI, an interested governmental agency, the current protocol
effectively imparts ultimate control over the decisions relative to the testing and storage of the
BOP stack with a single interested party.’

RELIEF SOUGHT

The Petitioners ask that this Court protect and preserve the right of the parties in interest
to develop, with the assistance of this Court, a jointly established protocol for the forensic testing

of the BOP stack. The Petitioners also seek protection from the Court to allow the parties in

"This Motion does not seek to have Court intervention in any matter related to the well control
process, and environmental considerations or in any matters related thereto. This matter is being
handled by the Joint Command and Petitioners do not seek Court intervention in these matters.)

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interest to provide input as to the testing facility for the Deepwater Horizon BOP stack. The
parties in interest have legitimate concerns as to the retrieval process, preservation and protection
of evidence, the capabilities of the DOI to transport and safely move the BOP stack to
appropriate, suitable facilities, the establishment of a mutually agreed, Court-ordered testing
protocol, and the appropriate forensic testing qualifications and competence to perform non-
biased testing. Additionally, Petitioners are concerned that all parties involved, in addition to
this Honorable Court, might not have input into how the BOP stack is transported, stored, and
tested.

At present, the retrieval preservation issues, possession, protocol and testing agency
appear to remain solely in the discretion of only the DOI. Petitioners seek to have this Protective
Order granted, precluding the DOI from taking any action other than that involved in well
control and environmental safety until such time as all parties in interest have a protected right to
provide input into all matters dealing with the BOP, considering its importance and significance
as relevant evidence.

Petitioners respectfully submit that only through this Honorable Court’s intervention can
all relevant, or potentially relevant, evidence related to the BOP stack be secured, maintained and
tested.

It is noted that Petitioners’ counsel contacted interim plaintiffs’ liaison counsel, advised
of Petitioners’ intent to file this Motion and provided a copy of same to interim plaintiffs’ liaison
counsel. Interim plaintiffs’ liaison counsel has indicated to counsel for Petitioners that they have

no opposition to the relief sought and have asked that Petitioners include this representation in

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this Motion. Additionally, counsel for Halliburton has been advised of this matter and has
indicated similar support for the intent of this Motion however no written confirmation has been
received as of this time.

Considering the foregoing Motion, Petitioners respectfully seek this Honorable Court to
issue a Protective Order, enjoining any action relative to the BOP, aside from assuring its
safeguarding, and any and all appropriate actions for controlling the well and the protection of
the environment, until such time as all parties have had ample and appropriate opportunity to
provide input in the devising of an appropriate protocol for all further handling relative to the
BOP stack, and that all parties are provided the opportunity to be present or have representatives
during all forensic testing. Testing should not proceed until the Court is satisfied, pursuant to a
jointly-established protocol that the evidence related to the BOP stack will be protected and
preserved for all parties and agencies at interest in a manner which is satisfactorily ordered by
this Honorable Court.

Respectfully submitted,

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing pleading has on this 19 day of

August, 2010, been served on the following counsel of record in this proceeding by:

( ) Hand Delivery (+) Prepaid U.S. Mail
(_) Federal Express (  ) E-Mail
(x ) ECF

/s/ Carl J. Hebert

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